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                             IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TENNESSEE
                                       MEMPHIS DIVISION

JAMES E. SMITH AND ASTRID SMITH,
    Plaintiffs,

v.                                                Civil No. 2:09-cv-02315-STA-cgc

NATIONWIDE MUTUAL FIRE
INSURANCE COMPANY

         Defendant.


                                 STIPULATION OF SETTLEMENT



         The parties, jointly, stipulate and notify the Court that this case has been fully

settled and resolved with each party to bear their own discretionary costs in this matter.

A proposed Order of Dismissal approved by the parties has been sent separately via

email to District Judge S. Thomas Anderson for consideration by the Court.


                                                  Respectfully submitted,


                                                  s/Jonathan E. Scharff
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 15th day of July, 2009, a copy of the foregoing
STIPULATION OF SETTLEMENT was filed electronically. Notice of this filing will be
sent by operation of the Court’s electronic filing system to all parties indicated on the
electronic filing receipt. All other parties will be served by regular U.S. Mail. Parties
may access this filing through the Court’s electronic filing system.


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